Case 1:20-cv-21103-KMW Document 41 Entered on FLSD Docket 01/12/2021 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                            Case No. 20-21103-CIV-WILLIAMS

  PHARMA FUNDING, LLC,

        Plaintiff,
  vs.

  FLTX HOLDINGS, LLC, et al.

        Defendants.
                             /

                                          ORDER

        THIS MATTER is before the Court on Magistrate Judge Edwin G. Torres’ report

  and recommendation (the “Report”) (DE 37) on Plaintiff’s motion for entry of Rule 37

  sanctions against Defendants (DE 34). The Report recommends that Plaintiff’s motion

  be GRANTED. Defendants filed objections to the Report. (DE 38). Upon an independent

  review of the Report, the objections, the record, and applicable case law, it is ORDERED

  AND ADJUDGED as follows:

        1. The conclusions in the Report (DE 37) are AFFIRMED AND ADOPTED.

        2. Plaintiff’s motion for sanctions (DE 34) is GRANTED. Defendants’ Answer to

            the complaint (DE 9) is STRICKEN.

        3. By no later than January 26, 2021, Plaintiff shall file a motion for final default

            judgment against Defendants and serve it in accordance with Rule 55(b)(2) of

            the Federal Rules of Civil Procedure. The motion shall be accompanied by a

            proposed default final judgment order setting forth the sum certain owed as

            money damages and the sum certain sought for attorneys' fees and costs

            supported by sufficient evidence, through affidavits or otherwise, to establish
Case 1:20-cv-21103-KMW Document 41 Entered on FLSD Docket 01/12/2021 Page 2 of 2




             the basis for damages and other relief sought in the pleadings. The motion

             shall also reference specific legal authority establishing Plaintiff's entitlement to

             the relief sought and demonstrating that service was proper.

          DONE AND ORDERED in Chambers in Miami, Florida, this 12th day of January,

  2021.




                                                 2
